2:22-cv-00874-DCN   Date Filed 04/01/25   Entry Number 115-5   Page 1 of 9




             Exhibit D
      2:22-cv-00874-MBS Date Filed 03/16/22 Entry Number 1 Page 1 of 8
  2:22-cv-00874-DCN    Date Filed 04/01/25 Entry Number 115-5 Page 2 of 9




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

MST, LLC,                                 )
                                          )
                      Plaintiff,          )
                                          )                      COMPLAINT            2:22-cv-874-MBS
       vs.                                )
                                          )
North American Land Trust and             )
Georgetown Memorial Hospital,             )
                                          )
                      Defendants.         )
_________________________________)

TO THE DEFENDANTS ABOVE-NAMED AND THEIR COUNSEL:

       MST, LLC (“Plaintiff” or “MST”), through its undersigned attorneys brings this action

for a declaratory judgment against the Defendants, alleging and stating as follows:

                          PARTIES, JURISDICTION AND VENUE

       1.      MST is Nevada limited liability company and the owner of certain real property

in Georgetown County, South Carolina as described below.

       2.      Defendant North American Land Trust (“NALT) is, upon information and belief,

a Pennsylvania non-profit corporation with its headquarters at 100 Hickory Hill Rd, Chadds

Ford, PA 19317.

       3.      Defendant Georgetown Memorial Hospital (the “Hospital”) is, upon information

and belief, a South Carolina non-profit corporation with its headquarters at 606 Black River Rd,

Georgetown, SC 29440.

       4.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1331, because the case arises under federal law and involves a federal question, and
      2:22-cv-00874-MBS Date Filed 03/16/22 Entry Number 1 Page 2 of 8
  2:22-cv-00874-DCN    Date Filed 04/01/25 Entry Number 115-5 Page 3 of 9




further pursuant to 28 U.S. C. § 1332, because there is complete diversity of citizenship between

Plaintiff and the Defendants and the amount in controversy exceeds the sum or value of $75,000.

       5.     Venue is proper in the District of South Carolina, Charleston Division, pursuant to

28 U.S.C. 1391(b)(2) because the real property at issue is located in Georgetown County, South

Carolina, and the principal place of business of The Hospital is in Georgetown County, South

Carolina.

                                       BACKGROUND

       6.     MST is the owner of certain real property in Georgetown County known as

Weehaw Plantation that is identified by TMS No. 02-1009-018-02-00 (658.56 acres)

(“Weehaw”). MST purchased Weehaw from Kyle N. Young and Jaqueline M. Young, as

evidenced by deed, dated June 16, 2010, recorded in the Register of Deeds for Georgetown

County (the “ROD”) at Book 1497 Page 342.

       7.     15 years earlier, the prior owners of Weehaw, named Larry and Judy Young,

granted NALT a Conservation Easement and Declaration of Restrictive Covenants (the

“Conservation Easement”), dated December 29, 1995, that is recorded in the ROD at Deed Book

0669, page 0300. A copy of the Conservation Easement is attached as Exhibit 1.

       8.     The Conservation Easement perpetually encumbers what is defined above as

Weehaw, as well as approximately 56.75 acres currently owned by the Hospital (the “Hospital

Easement Property”) that were subdivided from Weehaw prior to MST’s ownership.

       9.     Weehaw and the Hospital Easement Property derive from a common grantor, as

explained above, and are contiguous properties. The entrance road to Weehaw from Wedgefield

Road crosses through the middle of the Hospital Easement Property.




                                               2
      2:22-cv-00874-MBS Date Filed 03/16/22 Entry Number 1 Page 3 of 8
  2:22-cv-00874-DCN    Date Filed 04/01/25 Entry Number 115-5 Page 4 of 9




       10.     The Conservation Easement recognizes that the encumbered property, which

includes Weehaw and the Hospital Easement Property, is ecologically significant and that its

conservation is a benefit to the general public.               The Conservation Easement and the

accompanying Baseline Documentation, attached as Exhibit 2, recite the environmental,

conservation, and open space values of the encumbered property in detail.

       11.     As reflected in the Conservation Easement and Baseline Documentation, the

Conservation Easement serves several conservation purposes, including, inter alia, the

preservation of the valuable scenic vistas, which are observable from Highway 701 and

Wedgefield Road, and the protection of the property’s environmental systems, which provide an

important, ecologically stable habitat for flora and fauna.

       12.     An endangered species, known as Red-cockaded Woodpeckers, is among the

fauna known and documented to be present on the Weehaw tract and Hospital Easement

Property. Federally protected under the Threatened and Endangered Species Act of 1973, Red-

Cockaded Woodpeckers nest inside tree cavities and permanently reside in mature pine forests,

like that found on the property. According to the experts in this field, habitat loss is a primary

factor contributing to the decline of the Red-Cockaded Woodpecker population.

       13.     In granting the Conservation Easement in 1995, and thereby placing important,

conservation-minded restrictions on the land, the Youngs and NALT intended and agreed that

“the Property shall be, and hereby is, bound by and made subject to the following covenants and

restrictions in perpetuity . . . .” (double emphasis added).

       14.     Further, according to its terms. the Conservation Easement creates “a

‘conservation easement’ as defined in the Conservation Easement Act of 1991, as amended




                                                  3
      2:22-cv-00874-MBS Date Filed 03/16/22 Entry Number 1 Page 4 of 8
  2:22-cv-00874-DCN    Date Filed 04/01/25 Entry Number 115-5 Page 5 of 9




through the date hereof (the ‘Act’), Sections 27-8-10 et seq. of the South Carolina Code of

Laws.”

         15.    Section 27-8-30(C) of the Act requires that “a conservation easement is unlimited

in duration unless the instrument creating it provides otherwise.” The Conservation Easement at

issue does not provide otherwise.

         16.    Upon information and belief, the Youngs claimed a qualified conservation

contribution on their state and federal tax returns, thereby reducing their taxable income and

hence their income taxes, on the basis that the Conservation Easement meet the requirements of

state and federal law, including in particular 26 C.F.R. § 1.170A–14, Treas. Reg. § 1.170A–14.

         17.    Nevertheless, years later, the Youngs and NALT attempted to release the Hospital

Easement Property from the Conservation Easement by an amendment thereto, dated December

19, 2008, and recorded at Book 1122, Page 80 in the ROD (the “Amendment”).

         18.    Specifically, the Amendment provides, in pertinent part:

         That portion of the Hospital Parcel that is within the boundaries of the Property,
         being 56.75 acres, more or less, is hereby removed from the Conservation Area
         and released from the easements, covenants, prohibitions, and restrictions set
         forth in the Conservation Easement. . .

         A copy of the Amendment is attached as Exhibit 3.

         19.    The Hospital owns the Hospital Easement Property as part of a larger, 65-acre

tract of land identified by TMS No. 02-1009-018-02-03 (the “Hospital Tract”), which also

includes 8.25 acres that are not subject to the Conservation Easement (the “Unencumbered

Hospital Property”).

         20.    In November 2008, shortly before the Youngs and NALT attempted to release the

Hospital Easement Property from the Conservation Easement, Georgetown County zoned the

Hospital Tract as a planned development district, known as the Georgetown Memorial Hospital -



                                                 4
      2:22-cv-00874-MBS Date Filed 03/16/22 Entry Number 1 Page 5 of 8
  2:22-cv-00874-DCN    Date Filed 04/01/25 Entry Number 115-5 Page 6 of 9




Weehaw Campus Planned Development (the “Hospital Weehaw PD”), that permits hospital and

medical related uses.

       21.     In Spring 2021, the Hospital sought to amend the Hospital Weehaw PD to allow a

large multifamily housing project on part of the Hospital Tract, including a large portion of the

Hospital Easement Property.

       22.     In addition to prohibiting commercial use, the Conservation Easement prohibits

structures such as medical office buildings, hospitals, and multifamily housing.

       23.     Upon information and belief, the Hospital does not intend to develop the Hospital

Tract for a hospital or medical offices. Rather, it entered a purchase and sale agreement with a

multifamily developer, known as FourSix Development, to sell it sixteen acres of the Hospital

Tract, including the Hospital Easement Property, that was contingent upon adoption of the

amendment to the Hospital Weehaw PD to add and allow multifamily use.

       24.     County Council considered the amendment to the Hospital Weehaw PD in April

and May of 2021.

       25.     On or about May 7, 2021, while the amendment to the zoning of the Hospital

Tract was pending before County Council, a letter was sent to the Hospital, NALT, and County

Council on behalf of neighboring owners informing them that the purported Amendment in 2008

was legally ineffective in removing the Hospital Easement Property from the terms and

conditions of the Conservation Easement under federal and state law, and that litigation to obtain

a determination to this effect was likely. A copy of the letter of May 7, 2021, is attached as

Exhibit 4.

       26.     Neither the Hospital nor NALT formally responded to this letter nor did the

Hospital withdraw its application for the zoning change for multifamily use; upon information




                                                5
      2:22-cv-00874-MBS Date Filed 03/16/22 Entry Number 1 Page 6 of 8
  2:22-cv-00874-DCN    Date Filed 04/01/25 Entry Number 115-5 Page 7 of 9




and belief, both Defendants assert that the Amendment was effective in removing the Hospital

Easement Property from the encumbrance of the Conservation Easement.

        27.     On or about May 25, 2021, County Council conducted a third reading of the

amendment to the Hospital Weehaw PD. A copy of the meeting packet concerning this proposed

zoning amendment is attached as Exhibit 5. A representative of MST attended the council

meeting and spoke in opposition to the amendment, as he had at previous meetings where the

zoning amendment was considered.

        28.     The motion to approve the amendment to the zoning on third reading resulted in a

tie vote and failed to pass.

        29.     The commercial uses that are allowed under the existing Hospital Weehaw PD are

contrary to the terms and conditions of the Conservation Easement.

        30.     Upon information and belief, all or a portion of the Hospital Easement Property is

at risk of being sold to a third party for uses that violate the terms and conditions of the

Conservation Easement and would defeat the conservation purposes stated in the Conservation

Easement, including the preservation of scenic vistas observable from Highway 701 and

Wedgefield Road, as well as protection and enhancement of environmental systems that are,

today, now constituting critical habitat for the Red-Cockaded Woodpecker among other species.

                                  FIRST CAUSE OF ACTION
                                    (Declaratory Judgment)

        31.     Plaintiff realleges and restates the allegations of the preceding paragraphs as if

fully restated herein.

        32.     Upon information and belief, the Hospital and the NATL assert that the

Amendment is enforceable and valid, and that the Amendment was legally effective in removing

the Hospital Easement Property from the Conservation Easement as evidenced by the zoning



                                                6
      2:22-cv-00874-MBS Date Filed 03/16/22 Entry Number 1 Page 7 of 8
  2:22-cv-00874-DCN    Date Filed 04/01/25 Entry Number 115-5 Page 8 of 9




application of the Hospital last year. Plaintiff disputes that contention and asserts that the

Amendment is null, void, and unlawful because the Conservation Easement that applies to both

Plaintiff’s real property and the Hospital’s real property was required by federal law to encumber

all real property subject to the easement in perpetuity.

        33.       Pursuant to 28 U.S.C. §2201, et. seq. and Rule 37 of the Federal Rules of Civil

procedure, Plaintiff seeks a declaratory judgment that the Amendment purporting to remove

property from the Hospital Easement Property from scope of the Conservation Easement is

invalid as a matter of law because the Conservation Easement requires that the property

encumbered by the Conservation Easement be encumbered in perpetuity.

        34.       The Conservation Easement provides that “Grantee shall have no right or power

to agree to any amendments hereto that would result in this [easement] failing to qualify as a

valid conservation easement under the Act, as the same may be hereafter amended, of Section

l70(h) of the Code as hereafter amended. Section 170(h) of the Code refers to 26 U.S.C. §170(h)

and all of its subparts.”

        35.       Regarding the donation of a conservation easement to a qualified organization for

conservation purposes, restrictions on the use which may be made of the real property must be

granted in perpetuity. See 26 U.S.C. §170(h)(2)(C).

        36.       26 U.S.C. §170(h)(5)(A) provides in pertinent part that “[a] contribution shall not

be treated as exclusively for conservation purposes unless the conservation purpose is protected

in perpetuity.”

        37.       These same controlling federal regulations require the real property encumbered

in perpetuity be specifically identified.




                                                   7
      2:22-cv-00874-MBS Date Filed 03/16/22 Entry Number 1 Page 8 of 8
  2:22-cv-00874-DCN    Date Filed 04/01/25 Entry Number 115-5 Page 9 of 9




       38.     Real property encumbered by a qualified conservation contribution cannot be later

removed from the terms and conditions of the Conservation Easement without violating 26

U.S.C. §170(h) and its subparts.

       39.     Therefore, because the Amendment violates the provisions of section 107(h) cited

above, Plaintiff asks this Court to issue a declaratory judgment that the Amendment is null, void,

and unlawful and affirming that the Conservation Easement still encumbers the Hospital

Easement Property without amendment of any sort.

       WHEREFORE, the Plaintiff demands and prays:

       a. For a declaratory judgment against all Defendants declaring that the Amendment is
          invalid, and the Hospital Easement Property is subject to and encumbered by all the
          terms and conditions of the Conservation Easement.

       b. For an award of Plaintiff’s attorneys’ fees and costs.

       c. For such other and further relief to which they may be entitled, including any relief
          that this Honorable Court deems just and proper.

                                     Respectfully Submitted,

                                     s/ G. Trenholm Walker
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                                     ATTORNEYS FOR PLAINTIFF

March 16, 2022
Charleston, South Carolina



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